Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 1 of 22 Page ID #:344



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  11   LARRY PETERSON, AND RANCHO SIMI
  12   RECREATION AND PARK DISTRICT
       BOARD OF DIRECTORS
  13
  14
                        UNITED STATES DISTRICT COURT
  15
           CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
  16
  17
       JAMES KEENER, an individual, )         CV17-09182-GW(KS)
  18                                    )
  19                   Plaintiff,       )     DEFENDANTS’ OPPOSITION TO
  20
                                        )     PLAINTIFF’S MOTION FOR
       vs.                              )     PRELIMINARY INJUNCTION
  21                                    )
  22   RANCHO SIMI RECREATION           )     Date: No date set by the Court
       AND PARK DISTRICT, a public )          Time:
  23
       entity, et al.,                  )
  24                                    )
  25                        Defendants. )
                                        )
  26
                                        )
  27                                    )
  28                                    )

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                      OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 2 of 22 Page ID #:345



   1                                      TABLE OF CONTENTS
   2   INTRODUCTION...................................................................................... 6
   3
       STATEMENT OF FACTS ......................................................................... 8
   4
       ARGUMENT ............................................................................................. 8
   5
   6
        I.     PLAINTIFF LACKS STANDING TO BRING THIS MOTION FOR

   7
        PRELIMINARY INJUNCTION. ............................................................ 8

   8      A.       Plaintiff May Not Establish Standing by Asserting a
   9      Generalized Grievance on Behalf of the Public. .................................. 9
  10      B.       Plaintiff Has Not Alleged a Threat of Injury In Fact Sufficient
  11      to Establish Standing. .......................................................................... 9
  12
             1.    Plaintiff Has Not Alleged a Sufficient Threat of Imminent
  13
             Harm. ................................................................................................ 10
  14
             2.    Plaintiff Cannot Establish the Risk of Irreparable Harm. ...... 13
  15
  16
        II. PLAINTIFF HAS NOT SATISFIED THE NECESSARY
        ELEMENTS OF A REQUEST FOR PRELIMINARY INJUNCTION. 14
  17
  18      A.       Legal Standard for Granting a Preliminary Injunction. .......... 14
  19      B.       Plaintiff Has Not Established the Likelihood of Success on the
  20      Merits. ................................................................................................. 15
  21
          C.       Plaintiff Has Not Established that He Is Likely to Suffer
  22
          Irreparable Harm If an Injunction Does Not Issue. .......................... 17
  23
          D.       Plaintiff Has Not Established that the Balance of Equities Tips
  24
          in His Favor. ....................................................................................... 18
  25
  26
          E.       Plaintiff Has Not Established that an Injunction Is in the
          Public Interest. ................................................................................... 19
  27
  28   CONCLUSION ........................................................................................ 20

                                                    2
                             OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 3 of 22 Page ID #:346



   1                                 TABLE OF AUTHORITIES
   2
       Cases
   3
   4   Awad v. Ziriax, 670 F.3d 1111 (10th Cir. 2016) ..................................... 14
   5
       Badua v. City of San Diego, 189 F.3d 472 (9th Cir. 1999) ..................... 15
   6
   7   California Pharmacists Ass’n v. Maxwell-Jolly, 596 F3d 1098
   8    (9th Cir. 2010) ....................................................................................... 19
   9
       Caribbean Marine Services, Co., Inc. v. Baldrige, 844 F.2d 668
  10
         (9th Cir. 1988) .................................................................................. 9, 12
  11
  12   Dahl v. HEM Pharmaceuticals Corp., 7 F3d 1399
  13     (9th Cir. 1993) ...................................................................................... 14
  14
       Doe v. Natl. Bd. of Med. Examiners, 199 F.3d 146 (3d Cir. 1999) ......... 13
  15
  16   Earth Island Institute v. Carlton, 626 F3d 462 (9th Cir. 2010) ............. 17
  17
       Ervine v. Desert View Regional Med. Center Holdings, LLC, 753 F.3d
  18
        862 (9th Cir. 2014) .................................................................................. 9
  19
  20   Flexible Lifeline Systems, Inc. v. Precision Lift, Inc., 654 F3d 989
  21    (9th Cir. 2011) ....................................................................................... 18
  22
       Fundamentalist Church of Jesus Christ of Latter-Day Saints v. Home,
  23
        698 F.3d 1295 (10th Cir. 2012) ............................................................. 14
  24
  25   Garcia v. Google, Inc., 786 F3d 733 (9th Cir. 2015) ............................... 14
  26
  27
       League of Wilderness Defenders/Blue Mountains Biodiversity Project v.
        Connaughton, 752 F3d 755 (9th Cir. 2014) .......................................... 18
  28


                                                   3
                            OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 4 of 22 Page ID #:347



   1   MacDonald v. Chicago Park Dist., 132 F.3d 355
   2    (7th Cir. 1997) ....................................................................................... 17
   3
       Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co.,
   4
        571 F3d 873 (9th Cir. 2009) .................................................................. 14
   5
   6   Pacific Radiation Oncology, LLC v. Queen’s Medical Center, 810 F.3d
   7    631 (9th Cir. 2015) ................................................................................ 15
   8
       Salazar v. Buono, 559 US 700 (2010) ..................................................... 18
   9
  10   Schenck v. Pro-Choice Network Of W. New York, 519
  11    U.S. 357 (1997) ...................................................................................... 15
  12
       Schrier v. University of Colorado, 427 F.3d 1253
  13
        (10th Cir. 2005) ............................................................................... 13, 14
  14
  15   Scotts Co. v. United Industries Corp., 315 F3d 264
  16    (4th Cir. 2002) ....................................................................................... 17
  17
       Shell Offshore, Inc. v. Greenpeace, Inc., 709 F3d 1281
  18
        (9th Cir. 2013) ......................................................................................... 9
  19
  20   Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).......................................... 8
  21
       Summers v. Earth Island Institute, 555 U.S. 488 (2009) ......................... 9
  22
  23   United States ex rel. Rahman v. Oncology Assocs., P.C.,
  24     198 F3d 489 (4th Cir. 1999) ................................................................. 19
  25
       United States v. First Nat'l City Bank, 379 US 378 (1965) .................... 19
  26
  27   Warth v. Seldin, 422 U.S. 490 (1975)........................................................ 8
  28


                                                   4
                            OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 5 of 22 Page ID #:348



   1   Winter v. Natural Resources Defense Council, Inc.,
   2     555 US 7 (2008) ............................................................................... 13, 18
   3
       Statutes
   4
   5   42 U.S.C. § 1983 ...................................................................................... 15
   6
       C.P.C. 538d ........................................................................................ 15, 16
   7
   8   C.P.C. 832 ................................................................................................ 15
   9
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  12
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                              OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 6 of 22 Page ID #:349



   1         Defendants, Rancho Simi Recreation and Park District (the
   2   “District”), Richard Ackerman, Sheldon Kaminsky, Jerry DeRosa, and
   3   the Rancho Simi Park and Recreation District Board of Directors,
   4   hereby respond to and oppose the motion for preliminary injunction
   5   brought by plaintiff, James E. Keener.
   6                                  INTRODUCTION
   7         Plaintiff, a pro se litigant and resident of Georgia, filed the
   8   complaint initiating the instant case on December 22, 2017. In his
   9   complaint, plaintiff alleges seven causes of action related to an incident
  10   that occurred between him and District park rangers during a wedding
  11   he attended at Strathearn Historical Park and Museum in Simi Valley,
  12   California, on October 14, 2017. The gravamen of plaintiff’s complaint is
  13   that defendant Ackerman, a park ranger employed by the District, used
  14   excessive force against him. Defendants have not yet filed a responsive
  15   pleading.
  16         Plaintiff has also brought the instant motion seeking a
  17   preliminary injunction against defendants. In short, plaintiff contends
  18   that defendants Ackerman, Kaminsky, and DeRosa (who are all park
  19   rangers employed by the District), and other District rangers not named
  20   in the lawsuit,1 are not properly certified as California peace officers.
  21   Based upon this contention, he seeks to enjoin the District and any of
  22
  23
  24   1 On January 29, 2018, after the Court had already set a deadline of February 8,
       2018, for defendants’ opposition to the instant motion, plaintiff filed a Supplemental
  25
       Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction
  26   (hereinafter “Plaintiff’s Supplemental Memorandum”) in which he alleges that the
  27   following District rangers are not current in their Peace Officer Standards and
       Training (“POST”) certification: Larry Dolley; Ronald Marino; James Mascola; and
  28
       Santiago Rosales. None of these rangers are defendants in the instant lawsuit.

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                         OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 7 of 22 Page ID #:350



   1   its park rangers from exercising peace officer powers during the
   2   pendency of this litigation.
   3         A significant portion of plaintiff’s brief is spent alleging the
   4   various facts plaintiff believes support his contention that the District
   5   rangers are not certified peace officers. Those allegations, whether true
   6   or not, are completely irrelevant to the issue of whether an injunction
   7   should issue in this case. Plaintiff’s request for injunctive relief should
   8   be denied for reasons unrelated to the issue of peace officer certification.
   9         First, plaintiff does not have standing to bring this motion because
  10   he cannot demonstrate that he will suffer an injury in fact if the
  11   requested injunction is not granted. Plaintiff admits that he does not
  12   live in California and he has presented no evidence that any of the
  13   defendants have had any interactions with him post-incident, have
  14   made any threats against him, or will have any further interactions
  15   with plaintiff outside of these legal proceedings. Speculation of potential
  16   future harm, or reliance on past harm, is wholly insufficient to support
  17   plaintiff’s claim for injunctive relief.
  18         Second, plaintiff cannot satisfy any of the elements that courts
  19   consider when weighing a motion for preliminary injunction. That is,
  20   plaintiff cannot establish any of the following: (1) a likelihood of success
  21   on the merits such that he is entitled to injunctive relief; (2) that
  22   issuance of the requested injunction would be in the public interest;
  23   (3) that a balancing of the equities in this case favors the imposition of
  24   injunctive relief; and (4) that an injunction is in the public interest.
  25         For these reasons, the Court must deny plaintiff’s motion for a
  26   preliminary injunction.
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                       OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 8 of 22 Page ID #:351



   1                           STATEMENT OF FACTS
   2        Plaintiff attended a wedding on October 14, 2017, at Strathearn
   3   Historical Park (the “Park”), in Simi Valley, California. The Park is
   4   owned and operated by the District. While at the Park, plaintiff had
   5   several interactions with event staff and park rangers, including
   6   defendant Ackerman. The interactions related to plaintiff driving on
   7   Park land to drop off and pick up disabled wedding guests. Plaintiff was
   8   advised by several people, including Ackerman, not to drive in certain
   9   sections of the Park, but plaintiff proceeded to drive there anyway.
  10        Plaintiff ultimately engaged in an exchange with Ackerman,
  11   during which he alleges that Ackerman assaulted him, drew his
  12   weapon, and detained him, all without any cause to do so. Defendant’s
  13   dispute these allegations.
  14        Plaintiff claims that, following this incident, he determined that:
  15   none of Ackerman, Kaminsky, DeRosa, or other District rangers are
  16   properly certified to serve as peace officers in California; the District
  17   was maintaining an improper police force; and the District had
  18   previously been admonished by a grand jury to end the ranger program.
  19   Plaintiff seeks through this motion to enjoin the District from using
  20   these rangers (and any other allegedly unqualified rangers) as peace
  21   officers while this litigation is pending.
  22                                  ARGUMENT
  23   I.   PLAINTIFF LACKS STANDING TO BRING THIS MOTION
  24        FOR PRELIMINARY INJUNCTION.
  25        Plaintiff claims that both he and the public are likely suffer
  26   irreparable harm if an injunction does not issue in this instance.
  27   Plaintiff’s Memorandum, p. 15. However, neither claim is sufficient to
  28   establish standing in this case.

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                       OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 9 of 22 Page ID #:352



   1         A.    Plaintiff May Not Establish Standing by Asserting a
   2               Generalized Grievance on Behalf of the Public.
   3         The Supreme Court has held that “when the asserted harm is a
   4   ‘generalized grievance’ shared in substantially equal measure by all or a
   5   large class of citizens, that harm alone normally does not warrant
   6   exercise of jurisdiction.” Warth v. Seldin, 422 U.S. 490, 499 (1975). The
   7   Supreme Court has held further that “plaintiff generally must assert
   8   his own legal rights and interests, and cannot rest his claim to relief on
   9   the legal rights or interests of third parties.” Ibid. Instead, a plaintiff
  10   must establish an “injury in fact” showing that he or she suffered an
  11   injury that affects the plaintiff in a particularized way. Spokeo, Inc. v.
  12   Robins, 136 S. Ct. 1540, 1548 (2016), as revised (May 24, 2016).
  13         Here, plaintiff asserts that “he, and more importantly, the public
  14   are likely to suffer irreparable harm if the non-certified rangers are
  15   allowed to unlawfully exercise peace officer powers.” Plaintiff’s
  16   Memorandum, p. 18. According to the cases cited above, plaintiff’s
  17   assertion of a generalized grievance on behalf of the public, standing
  18   alone, is insufficient to establish plaintiff’s right to bring the instant
  19   motion. Plaintiff must go further and allege a particularized grievance.
  20   As discussed in the next section, plaintiff has not alleged such
  21   particularized grievance.
  22         B.    Plaintiff Has Not Alleged a Threat of Injury In Fact
  23               Sufficient to Establish Standing.
  24         Constitutional standing is a necessary element for any claim for
  25   injunctive relief, preliminary or otherwise:
  26               To seek injunctive relief, a plaintiff must show
  27               that he is under threat of suffering ‘injury in fact’
  28               that is concrete and particularized; the threat

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                       OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 10 of 22 Page ID #:353



    1                 must be actual and imminent, not conjectural or
    2                 hypothetical; it must be fairly traceable to the
    3                 challenged action of the defendant; and it must be
    4                 likely that a favorable judicial decision will
    5                 prevent or redress the injury.
    6   Summers v. Earth Island Institute, 555 U.S. 488, 493 (2009); see also
    7   Shell Offshore, Inc. v. Greenpeace, Inc., 709 F3d 1281, 1286-1287, (9th
    8   Cir. 2013) (in the context of injunctive relief, standing requires a
    9   demonstration of a real or immediate threat of irreparable harm).
   10         The key to establishing standing for a preliminary injunction is
   11   the “imminent prospect of future injury,” not a past injury. Ervine v.
   12   Desert View Regional Med. Center Holdings, LLC, 753 F.3d 862, 868,
   13   (9th Cir. 2014). Moreover, it is not enough to establish only imminent
   14   harm; a plaintiff must also show that the harm is irreparable.
   15   Caribbean Marine Services, Co., Inc. v. Baldrige, 844 F.2d 668, 674 (9th
   16   Cir. 1988).
   17                 1.    Plaintiff Has Not Alleged a Sufficient Threat of
   18                       Imminent Harm.
   19         Here, plaintiff has not alleged a concrete threat of imminent
   20   harm. The only way plaintiff could even conceivably suffer an injury
   21   related to the District’s alleged use of non-POST certified peace officers
   22   is if plaintiff were actually present within the District’s jurisdiction.
   23   However, plaintiff admits that he is a resident of Georgia. Plaintiff’s
   24   Memorandum, p. 18. It is impossible for plaintiff to suffer harm while
   25   he is out of state.
   26         Plaintiff states that he “often visits his family” in Ventura County
   27   and he will be in Ventura and Los Angeles Counties for upcoming
   28   hearings in this case. Plaintiff’s Memorandum, p. 18. It is not clear why

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                           OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 11 of 22 Page ID #:354



    1   this would expose plaintiff to a threat of imminent harm. The District
    2   rangers’ jurisdiction consists of some public parks located in both Simi
    3   Valley and in the community of Oak Park. Plaintiff has not alleged that
    4   he has any plans to be in any of the parks operated by the District. If he
    5   has no plans to enter the District’s jurisdiction, there is no risk
    6   whatsoever that plaintiff could suffer any harm related to the rangers’
    7   exercise of peace officer powers, lawful or otherwise.
    8        Plaintiff further alleges that he will be “face to face” with
    9   defendant’s Ackerman, Kaminsky, and DeRosa during the course of this
   10   case. Plaintiff’s Memorandum, p. 18. Even assuming that is true,
   11   plaintiff will not be “face to face” with them in their capacities as peace
   12   officers unless he goes to a District park, which he has not alleged he
   13   intends to do. Plaintiff has not alleged that any of the defendants, post-
   14   incident, have ever attempted to contact him, threaten him, or
   15   otherwise pay him any attention. These allegations are insufficient to
   16   constitute a threat of imminent harm.
   17        Plaintiff alleges that defendant Ackerman has a history of civil
   18   rights violations. Plaintiff’s only support for this allegation are footnote
   19   citations to two federal district court cases in the State of Washington
   20   and a decision of the Washington State Public Employment Relations
   21   Commission (PERC). Mere footnote citations do not constitute
   22   admissible evidence, nor do the citations establish a pattern of civil
   23   rights violations. Further, plaintiff has mischaracterized the PERC case
   24   as relating to “violations as a peace officer.” Had plaintiff attached the
   25   PERC decision itself, the mischaracterization would have been made
   26   obvious. The PERC decision was related a labor complaint filed by a
   27   public employee against the City of Quincy, Washington. See PERC
   28   Decision 11103, attached as Exhibit A to the Request for Judicial Notice

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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 12 of 22 Page ID #:355



    1   in Support of Defendant’s Opposition to Motion for Preliminary
    2   Injunction. Defendant Ackerman appears to have been the employee’s
    3   supervisor. It is clear from the decision itself that it has nothing to do
    4   with a violation of civil rights “as a peace officer.” It was an employment
    5   matter. As for the district court cases in the state of Washington
    6   referenced by plaintiff, he provides no information whatsoever about
    7   the cases other than case numbers. This does not constitute evidence of
    8   a pattern of civil rights violations from which plaintiff can infer a threat
    9   of future harm to himself.
   10            In his motion, plaintiff refers to two previous Ventura County
   11   grand jury investigation relating to the District ranger program, which
   12   occurred in 2007 and 2011. Plaintiff’s Memorandum, pp. 2, 9-11.2
   13   Plaintiff notes that the investigations were conducted in response to
   14   “citizen complaints about the rangers….” Plaintiff’s Memorandum, p. 9.
   15   All of the alleged findings that plaintiff claims are contained in the
   16   report are completely irrelevant to this case because they do not in any
   17   way support plaintiff’s contention that he is at risk of imminent harm if
   18   the ranger program is allowed to continue in operation. It is plain from
   19   the report itself (which plaintiff attached to his motion) that the
   20   investigation, facts, findings, and recommendations of the grand jury
   21   had nothing to do with ranger misconduct or use of excessive force.
   22   Instead, the report represents an assessment of whether the ranger
   23   program is a fiscally sound investment of public resources. Despite
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   25
   26   2   Though plaintiff refers to both a 2007 and a 2011 grand jury investigation, he has
   27   only attached copies of the reports generated from the 2011 investigation to his
   28   motion.

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                            OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 13 of 22 Page ID #:356



    1   whatever plaintiff may be attempting to imply by reference to the grand
    2   jury investigations, they are not relevant to this motion.
    3        Finally, plaintiff argues that the likelihood of harm can be proved
    4   by reference to certain of the District’s policies related to ranger use of
    5   force and ranger use of deadly force. Plaintiff’s Memorandum, pp. 16-17.
    6   On this point, plaintiff is mistaken. In the first place, there is nothing in
    7   the portions of the policies cited by plaintiff that suggests they are
    8   particularly prone to abuse. More importantly, however, any harm
    9   plaintiff could even contemplate at the hands of any rangers could only
   10   occur if he was interacting with the within their jurisdiction. Plaintiff
   11   has made no allegations that he will ever be visiting District controlled
   12   lands.
   13        For all of these reasons, plaintiff has failed to make any showing
   14   whatsoever that he is at risk of imminent harm because of the rangers’
   15   alleged lack of POST certification.
   16              2.    Plaintiff Cannot Establish the Risk of Irreparable
   17                    Harm.
   18        Even if plaintiff could establish the threat of imminent harm, he
   19   would still need to establish that the harm would also be irreparable.
   20   Caribbean Marine Services, Co., Inc. v. Baldrige, 844 F.2d 668, 674 (9th
   21   Cir. 1988). He has not done that here.
   22        Plaintiff has properly indicated in his brief that irreparable harm
   23   is required before a court will impose a preliminary injunction, and he
   24   has properly indicated that irreparable harm is “harm that cannot be
   25   remedied by monetary award.” Plaintiff’s Memorandum, p. 15.
   26   However, plaintiff has made no argument that the harm he speculates
   27   he might suffer would be irreparable, nor has he put forward any facts
   28   to support that conclusion. In the absence of any legal argument or

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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 14 of 22 Page ID #:357



    1   factual support for his claim of irreparable harm, the court should
    2   dismiss the notion out of hand.
    3         Because plaintiff cannot establish imminent or irreparable harm,
    4   he has no standing to bring a motion for preliminary injunction.
    5   Plaintiff’s motion should be dismissed on these grounds alone.
    6   II.   PLAINTIFF HAS NOT SATISFIED THE NECESSARY
    7         ELEMENTS OF A REQUEST FOR PRELIMINARY
    8         INJUNCTION.
    9         A. Legal Standard for Granting a Preliminary Injunction.
   10         A preliminary injunction is an “extraordinary remedy that may
   11   only be awarded upon a clear showing that the plaintiff is entitled to
   12   such relief.” Winter v. Natural Resources Defense Council, Inc., 555 US
   13   7, 22 (2008). Under federal law, a party seeking preliminary injunction
   14   must establish that: (1) it is likely to succeed on the merits; (2) it is
   15   likely to suffer irreparable harm in the absence of preliminary relief;
   16   (3) the balance of equities tips in favor of the requesting party; and
   17   (4) an injunction is in the public interest. Id., at 20.
   18         Allegations are insufficient to support a preliminary injunction.
   19   Doe v. Natl. Bd. of Med. Examiners, 199 F.3d 146, 152 (3d Cir. 1999).
   20   Instead, the moving party must produce evidence of a likelihood that he
   21   or she will be injured by the threatened conduct. Id., at 152-53.
   22         Certain injunctions are considered “disfavored” and therefore
   23   must be closely scrutinized before an injunction will be granted. Schrier
   24   v. University of Colorado, 427 F.3d 1253, 1260-1261 (10th Cir. 2005).
   25   These “disfavored” injunctions include injunctions that: (1) disturb the
   26   status quo; (2) are mandatory (mandating some action be taken) rather
   27   than prohibitory (prohibiting an action from being taken); or (3) provide
   28   substantially all the relief the movant would obtain after a full trial on

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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 15 of 22 Page ID #:358



    1   the merits. Ibid.; Dahl v. HEM Pharmaceuticals Corp., 7 F3d 1399,
    2   1403 (9th Cir. 1993); see also Garcia v. Google, Inc., 786 F3d 733, 740
    3   (9th Cir. 2015) (plaintiff's burden is “doubly demanding” if seeking
    4   mandatory injunction); Marlyn Nutraceuticals, Inc. v. Mucos Pharma
    5   GmbH & Co., 571 F3d 873, 879 (9th Cir. 2009) (mandatory injunctive
    6   relief is “particularly disfavored” and will not be granted unless extreme
    7   or very serious harm will result, not capable of compensation in
    8   damages, if the injunction is not issued.) The heightened scrutiny
    9   applied to disfavored injunctions generally means that in those cases
   10   there must be a stronger showing of the likelihood of success on the
   11   merits. Awad v. Ziriax, 670 F.3d 1111, 1126 (10th Cir. 2016). Some
   12   courts, however, have applied this heightened standard to all of the
   13   factors for injunctive relief, not just the likelihood of success element.
   14   Fundamentalist Church of Jesus Christ of Latter-Day Saints v. Home,
   15   698 F.3d 1295, 1301 (10th Cir. 2012).
   16        Here, the requested injunction is of the disfavored variety because
   17   if issued, it would disturb the status quo by forcing the District to take
   18   the positive action of curbing its use of park rangers. Accordingly, the
   19   Court should apply a heightened standard to its analysis of whether the
   20   injunction is proper. But whichever standard is applied, the factors
   21   identified above favor a denial of plaintiff’s request for preliminary
   22   injunction.
   23        B.       Plaintiff Has Not Established the Likelihood of
   24                 Success on the Merits.
   25        A plaintiff must demonstrate a likelihood of success on the merits.
   26   Part of this burden requires a plaintiff to demonstrate a connection
   27   between the asserted legal claims and the alleged irreparable injury. A
   28   preliminary injunction is only appropriate when it “grants relief of the

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                         OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 16 of 22 Page ID #:359



    1   same nature as that to be finally granted.” Pacific Radiation Oncology,
    2   LLC v. Queen’s Medical Center, 810 F.3d 631, 636 (9th Cir. 2015). Harm
    3   is generally considered irreparable only if it cannot be cured by money
    4   damages. See, e.g., Schenck v. Pro-Choice Network Of W. New York, 519
    5   U.S. 357, 367 (1997) (irreparable harm found where harm could not be
    6   cured by money damages); Badua v. City of San Diego, 189 F.3d 472
    7   (9th Cir. 1999) (court was within its discretion to conclude harm was
    8   not irreparable where it could be remedied by money damages).
    9            Here, plaintiff cannot link irreparable harm to the likelihood of
   10   success on the merits of his underlying claims because even if successful
   11   on his claims, he would not be entitled to equitable relief he seeks in
   12   this motion. Plaintiff has alleged seven causes of action,3 none of which
   13   would entitle him to injunctive relief if he were successful.4
   14            Additionally, plaintiff’s complaint cites to two sections of the
   15   California Penal Code: sections 832 and 538d. Neither of these code
   16   sections create a private cause of action for either monetary or
   17   injunctive relief. Penal Code section 832, et seq., sets forth California’s
   18   Peace Officer Standards and Training (“POST”) requirements. Even if
   19   the District violated these provisions (which is does not admit), nothing
   20
   21   3   The alleged causes of action are: 1) excessive force in violation of 42 U.S.C. § 1983;
   22
        2) civil rights violations under California’s Bane Act; 3) assault; 4) battery; 5) false
   23   arrest/false imprisonment; 6) intentional infliction of emotional distress; and 7)
   24   negligence.
   25   4   In plaintiff’s prayer for damages, he does request “injunctive relief” as one of
   26   several remedies. However, nothing in his complaint indicates what type of
   27   injunctive relief is sought, and there are no allegations in the complaint which
   28   would support a prayer for injunctive relief.

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                             OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 17 of 22 Page ID #:360



    1   therein creates a private right of action for damages or enforcement of
    2   the code’s provisions.
    3        Similarly, section 538d is a criminal statute that which prohibits
    4   impersonating a peace officer. This section permits criminal charges
    5   against an individual impersonating a peace officer, but does not permit
    6   a private right of action for the same offense.
    7        The claims in plaintiff’s lawsuit are monetary in nature,
    8   permitting plaintiff to recover monetary damages if he can prove any of
    9   his causes of action. In plaintiff’s motion for preliminary injunction, he
   10   has offered no argument that the harm he alleges in his complaint could
   11   not be remedied by money damages, i.e. he has not argued that
   12   injunctive relief is appropriate in his underlying claim. Absent the
   13   possibility of injunctive relief in his lawsuit, a preliminary injunction at
   14   this point would be entirely improper.
   15        Plaintiff bears the burden of establishing the likelihood of success
   16   on the merits, but has offered nothing to suggest that even if he prevails
   17   completely in his lawsuit, he would be entitled to injunctive relief. For
   18   these reasons, his motion must be denied.
   19        C.    Plaintiff Has Not Established that He Is Likely to
   20              Suffer Irreparable Harm If an Injunction Does Not
   21              Issue.
   22        Defendants have previously argued in sections I.B(1) and (2),
   23   supra, of this opposition brief that plaintiff has not established that he
   24   is likely to suffer imminent, irreparable harm if the injunction is not
   25   granted. For the same reasons put forth there, plaintiff has failed to
   26   establish, for the purposes of this prong of the test, that he is likely to
   27   suffer any harm if the injunction does not issue. The crux of defendants’
   28   argument is that plaintiff is not a resident of California, and has not

                                               17
                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 18 of 22 Page ID #:361



    1   alleged that he ever intends to enter a District park. Absent such an
    2   intention, it is difficult to envision how plaintiff might come into contact
    3   with defendant rangers in their peace officer capacities, such that an
    4   imminent injury would be likely. These facts weigh in favor of denying
    5   plaintiff’s motion.
    6        D.    Plaintiff Has Not Established that the Balance of
    7              Equities Tips in His Favor.
    8        In ruling on a motion for preliminary injunction, a court must
    9   weigh the equities to determine if those equities tip in the moving
   10   party’s favor. A preliminary injunction may be denied if the equities do
   11   not tip in the moving party’s favor. “[T]he real issue in this regard is the
   12   degree of harm that will be suffered by the plaintiff or the defendant if
   13   the injunction is improperly granted or denied.” Scotts Co. v. United
   14   Industries Corp., 315 F3d 264, 284 (4th Cir. 2002) (emphasis in
   15   original). It is for the court to decide how much weight to give to the
   16   competing harms. Earth Island Institute v. Carlton, 626 F3d 462, 475
   17   (9th Cir. 2010).
   18        Where the harm to the defendant substantially outweighs the
   19   threatened harm to the plaintiff, the plaintiff has the burden of
   20   demonstrating an even stronger showing of success on the merits.
   21   MacDonald v. Chicago Park Dist., 132 F.3d 355, 357, (7th Cir. 1997).
   22        Here, the balance of equities tips entirely in favor of defendants. If
   23   the requested injunction is issued in this case, the District would be
   24   prevented from deploying its rangers to do the jobs they have been
   25   hired to do (and for which the District would continue to pay them). In
   26   addition, the rangers themselves would be prevented from pursuing
   27   their employment as peace officers for the duration of the trial, with the
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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 19 of 22 Page ID #:362



    1   associated loss of income that would entail. Issuing the injunction
    2   would obliterate the status quo.
    3        By contrast, as discussed previously, plaintiff cannot prove that he
    4   will establish any harm if the injunction does not issue. Plaintiff does
    5   not live in California and has not established any facts showing that he
    6   would have any interactions or contact with defendants outside of this
    7   litigation. His claims are limited to a single interaction with a single
    8   park ranger while plaintiff was on District property for the special
    9   event of a relative’s wedding. Plaintiff is unlikely to ever be present on
   10   District property again, and in any case, he has not alleged that he has
   11   any plans to do so.
   12        All of the potential harm is on one side. The balance of equities tip
   13   in favor of defendants here.
   14        E.    Plaintiff Has Not Established that an Injunction Is in
   15              the Public Interest.
   16        In exercising its discretion, a court should “pay particular regard
   17   for the public consequences in employing the extraordinary remedy of
   18   injunction.” Winter, supra, 555 US at 24; Salazar v. Buono, 559 US
   19   700, 714, (2010); Flexible Lifeline Systems, Inc. v. Precision Lift, Inc.,
   20   654 F3d 989, 996-997, (9th Cir. 2011). This “public interest” inquiry
   21   generally addresses the impact upon nonparties of granting or
   22   withholding injunctive relief. League of Wilderness Defenders/Blue
   23   Mountains Biodiversity Project v. Connaughton, 752 F3d 755, 766, (9th
   24   Cir. 2014) (public interest element “deserves special attention in cases
   25   where the public interest may be affected.) If the injunction goes beyond
   26   the parties, carrying with it a potential for public consequences, the
   27   “public interest” becomes relevant to whether an injunction should
   28   issue. “Courts of equity may, and frequently do, go much farther both to

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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 20 of 22 Page ID #:363



    1   give and withhold relief in furtherance of the public interest than they
    2   are accustomed to go when only private interests are involved.” United
    3   States v. First Nat'l City Bank, 379 US 378, 383, (1965); United States
    4   ex rel. Rahman v. Oncology Assocs., P.C., 198 F3d 489, 497, (4th Cir.
    5   1999); California Pharmacists Ass’n v. Maxwell-Jolly, 596 F3d 1098,
    6   1114-1115, (9th Cir. 2010).
    7        Here, granting the injunction would result in a negative effect on
    8   the public interest. If the injunction is granted, the District would be
    9   prevented during this litigation from using its ranger staff to protect
   10   District property, to protect the public visiting District locations, and in
   11   general, to keep District parks open and safe. With an injunction in
   12   place, and rangers not working, members of the public would be at
   13   greater risk when visiting District locations than they would be if
   14   rangers were on the job patrolling the parks.
   15        Therefore, consideration of the public interests in this case, as
   16   well as the other three factors identified above, favor a denial of
   17   plaintiff’s motion for preliminary injunction.
   18                                 CONCLUSION
   19        Plaintiff lacks standing to bring this motion for preliminary
   20   injunction. For that reason alone his motion should be denied. But if the
   21   court does consider the motion on its merits, the motion should be
   22   denied because plaintiff has not established any of the requisite
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                        OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 21 of 22 Page ID #:364



    1   elements of a preliminary injunction. Accordingly, defendants
    2   respectfully request that the Court deny plaintiff’s motion.
    3
    4   Dated: February 7, 2018         NORTON & MELNIK, APC
    5
    6                                   By: /s/ Robert L. Hernandez
    7                                   SONALI OLSON
                                        ROBERT L. HERNANDEZ
    8                                   Attorneys for Defendant,
                                        SIMI VALLEY HISTORICAL
    9
                                        SOCIETY AND MUSEUM, RANCHO
   10                                   SIMI RECREATION AND PARK
   11                                   DISTRICT, RICHARD ACKERMAN,
                                        SHELDON KAMINSKY, JERRY
   12
                                        DEROSA, LARRY PETERSON, AND
   13                                   RANCHO SIMI RECREATION AND
   14                                   PARK DISTRICT BOARD OF
                                        DIRECTORS
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                       OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
Case 2:17-cv-09182-GW-KS Document 28 Filed 02/07/18 Page 22 of 22 Page ID #:365



    1                                 PROOF OF SERVICE
    2
        IT IS HEREBY CERTIFIED THAT:
    3
    4         I, the undersigned, am a citizen of the United States and I am at least
        eighteen years of age. My business address is 20920 Warner Center Lane, Suite B,
    5   Woodland Hills, CA 91367.
    6
               I am not a party to the above-entitled action. I have caused service of
    7
        DEFENDANTS’ OPPOSTION TO PLAINTIFF’S MOTION FOR
    8   PRELIMINARY INJUNTION on the following party by electronically filing the
    9   foregoing with the Clerk of the District Court using its ECF System, which
        electronically notifies them.
   10
   11   JAMES E. KEENER (Plaintiff)
        4100 Lenox Park Drive
   12   Buford, GA 30519
   13   Keener.v.rsrpd@icloud
   14
   15   I declare under penalty of perjury that the foregoing is true and correct. Executed
        on February 7, 2018.
   16
   17                                                  /S/ Angela E. Boone
                                                       Angela E. Boone
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                         OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
